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In the Anited States Court of Federal Claims FILED

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RONALD F. BERKLEY, et al., * U.S. COURT OF
* FEDERAL CLAIMS
Plaintiffs, *
y * No. 98-943C
. * Filed: March 11, 2011
UNITED STATES, :
Defendant. *
*

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ORDER

A joint Stipulation for Entry of Judgment for plaintiff Kenneth C. Rogers was
submitted to the court on March 9, 2011. The Clerk’s Office shall FILE the joint stipulation
by leave of the court. On February 20, 2004, the court approved a Settlement Agreement
between the certified opt-in class of 626 plaintiffs and the United States in the above
captioned case. Mr. Rogers elected to be considered for retention in the United States Air
Force by a Special Board convened pursuant to the Settlement Agreement, and was
selected for retention. The Settlement Agreement provided that plaintiffs selected for
retention shall receive back pay and allowances, less offsets, less a specified amount for
costs, expenses and attorney's fees.

Judgment for the above named plaintiff shall be entered pursuant to the terms of
the attached joint Stipulation for Entry of Judgment. Judgment shall be entered in
exchange for a total payment from the United States in the amount of $385,493.63, to be
paid as follows: $306,457.99 of that total amount representing net back pay to be paid to
plaintiffs attorney, Barry P. Steinberg, for subsequent distribution to the plaintiff, in
accordance with the terms of the attached joint Stipulation for Entry of Judgment;
$46,045.77 to be paid to representatives of the United States for subsequent deposit by
those representatives into the individual Thrift Savings Plan account of the plaintiff; and
$32,989.87 to be distributed by representatives of the United States as tax payments. The
court, therefore, DISMISSES, with prejudice, the claims of Kenneth C. Rogers, with each
party to bear its own costs, attorney's fees and expenses pursuant to the attached joint
Stipulation for Entry of Judgment. As Mr. Rogers is the last remaining plaintiff in the above
eae case and original lawsuit, with this entry of judgment the entire case shall be

LOSED.

IT 1S SO ORDERED.

Mle 2k.

— MARIAN BLANK HORN
Judge

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IN THE UNITED STATES COURT OF FEDERAL CLAIMS

Defendant.

RONALD F. BERKLEY, et al., )
Plaintiffs, )
)
Vv. )

) No. 98-943C

THE UNITED STATES, ) (Judge Horn)
)
)

STIPULATION FOR ENTRY OF JUDGMENT

To settle the claims asserted in the complaint for the sole remaining plaintiff in this case
and to permit the entry of final judgment on those claims, without constituting an admission of
liability on the part of defendant, it is stipulated and agreed between the United States and the
one individual plaintiff named in paragraph 3 of this stipulation:

1. In 1998, plaintiffs filed No. 98-943C, a class action lawsuit, seeking damages for, and
in relation to, their separation from active duty in the United States Air Force through operation
of the Fiscal Year 1993 Reduction in Force board (“FY 93 RIF”).

2. The parties have agreed to settle this case upon the terms stated in the Settlement
Agreement approved by this Court on February 20, 2004.

3. The plaintiff named below elected to be considered for retention in the Air Force by a
Special Board convened as required by the settlement agreement. The plaintiff was considered
by a Special Board and was selected for retention. Paragraph 4.q. of the settlement agreement in
applicable part provides:

A plaintiff who is selected for retention under the Board Option will receive the

backpay and allowances, less offsets, as described in paragraphs 4.1, 4.j, 4.m, 4.n,

and 4.0 of this Settlement Agreement; less the $2,100 in costs, expenses and

attorney fees set forth in subparagraph 4.r; .... The parties shall file a single

stipulation of judgment in favor of all selectees within 30 days of all events which
fix liability for backpay as described in paragraphs 4.i, 4.j, 4.m, 4.n, and 4.0 of

 
 

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this Settlement Agreement. The sum of this judgment shall be the sum of the
backpay owed all selectees as calculated pursuant to paragraphs 4.1, 4.j, 4.m, 4.n,
and 4.0 of this Settlement Agreement ....
The calculations have been concluded for the class member named below, and the amount of
back pay to be distributed to him, the funds to be deposited in his thrift savings account, the

funds to be paid to the Defense Finance and Accounting Service to be withheld as taxes, and the

total judgment to be entered against the United States follows:

 

 

 

 

 

 

 

 

Class member Net Amount TSP* Taxes ** Gross Amount
of back pay
Rogers, Kenneth C. $306,457.99 $46,045.77 $32,989.87 $385,493.63
Total Amount of $385,493.63
Stipulated Judgment

 

*Thrift Savings Plan

**Federal & State Taxes withheld including employer’s and employee’s contributions for FICA

(Social Security and Medicare)

Accordingly, in compliance with the terms of the settlement agreement, the foregoing plaintiff

agrees to settle each and every one of his consolidated claims in this case in exchange for the

actions already taken or being taken by the defendant in regard to his military career and entry of

a judgment in the total amount of $385,493.63 to be paid as follows:

e $306,457.99 of that amount representing net back pay to be paid to his attorney, Barry P.
Steinberg, for subsequent distribution by that attorney as required by the settlement
agreement;

e $46,045.77 to be paid to representatives of the United States for subsequent deposit by those

representatives into the individual Thrift Savings Plan account of the plaintiff; and

e $32,989.87 to be distributed by representatives of the United States as tax payments.

 
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4. The United States consents to entry of judgment against the United States in favor of
the named plaintiff as set out in paragraph 3.

5. Upon entry of judgment, the plaintiff named in this stipulation releases, waives, and
abandons all other claims against the United States, its political subdivisions, its officers, agents,
and employees, arising out of or related to the FY93 RIF or otherwise involved in this case,
regardless of whether they were included in the complaint, including, but not limited to, all
claims for costs, expenses, attorney fees, compensatory damages, and exemplary damages.

6. Other than reflecting the amount of tax withholdings being paid by the defendant to
the United States Treasury in regard to the named class member, this stipulation is in no way
related to or concerned with income or other taxes for which the plaintiff is now liable or may
become liable in the future as a result of this stipulation or as a result of entry of a final judgment.

7. This stipulation is for the purposes of settling this case and permitting entry of final
judgment, and for no other. Accordingly, this stipulation shall not bind the parties, nor shall it be
cited or otherwise referred to, in any proceedings, whether judicial or administrative in nature, in
which the parties or counsel for the parties have or may acquire an interest, except as is necessary
to effect the terms of this stipulation or the settlement agreement. This stipulation is only
applicable to the plaintiff named in paragraph 3. However, as this plaintiff is the sole remaining

plaintiff, the entry of judgment as to him would finally conclude this matter.

 
 

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Dated:

Respectfully Submitted,

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Bt hh,

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Deputy Director

ds PROUTY

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Attorneys for [Defendant
Dated: __ LO!

 
 

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CERTIFICATE OF SERVICE
I, the undersigned, hereby certify under penalty of perjury that on this 9thday of March,
2011, I caused to be placed in the United States mail (first class mail, postage prepaid) copies of

“STIPULATION FOR ENTRY OF JUDGMENT” as follows:

Barry P. Steinberg, Esq.

1101 Connecticut Avenue, NW
Suite 1000

Washington, DC 20036-4374

Silko A Bros

 
